       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 1 of 62 PageID #: 618
                    Texas Dep rtment of Crimin l Justice                                       OFFICE USE ONLY
                                                                                        Grievance #:
                                                      OFFENDER
                         STEP                                                           Date Received:

                                                                                        Date           Due:              ,

                                                                                        Grievance Code:

Offender Name:                                           TDCJ#                          Investigator ID #:                   ,

Unit:        Housing Assignment:                                                        Extension Date:

Unit where incident occurred: / i C                                                     Date Retd to Offender:



You must try to resolve your problem with a staff member before you submit a formal com laint. The only exception is when
appealing the results of a disciplinary hearin . . i Oil/' /'-» «?
Who did you talk to (name, title)? N CS/1?- KQp£fj UZlA0 When?
What was their response? TqU ag T. w ?S Sy                     9
What action was taken?

State your grievance in the space provided. Please state who, what, when, where an the disciplinary case number if appropri te
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            Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 2 of 62 PageID #: 619

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Grievance Response:




Signature                                         Authority:                                          :   '¦      '    Date:                            '
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appe l on the Ste 2 Form.

Returned because: Resubmit this form when the corrections are made.

    1 . Grievable time-.-periodhas expired.. ,.

    2. Submission in excess of 1 every 7 days.                                                                           ' OFFICE USE QNIX; ;
                                                                                                              . Initial Submission -- UGI Initials: bK. '
n.3,'' Originals not submitted.               - , . , .
                                                                                                              '   Grievance                                   #:
I~|4. -InapproDriate/Excessive attachments.
                                                                                                               Screening Criteria Used:
    5. No documented attempt at informal resolution.         .
                                                                                                               Date Recd from Offen er:
    6. No requested relief is stated.;               ¦ :
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    7. Malicious use of vulgar, indecent, or physic lly threatening language.
                                                                                                              . 2. S.ub.mjssiQ.n. . yGI Initials:/H / .
    8. The issue presented is not grievable.
                                                                                                               Grievance #:.
    9. Redundant, Refer to grievance #                                                                         Screenin                Criteria Used:
    10. Illegible/Incom rehensible.                                                               '           , Date Recd from Offender: . n ,??-                       ~
nil-:Tnappropriate.~*                                                       ¦*       .:-      '   7       .
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                                                                                                               1-5 = icrmwrJl L
                                                                                                               Griev nce ?zf               Z- w-         , •„ Ay:
A lication of the screening criteria r this grievance is not e pected to adversely                             -Screenin . Criteria Used:                        - "
Affect the offender s he lth. . ;
                                                                                                               D te Recd from Offender:'
Medical Signature Authority:, ¦                                                                               . Date' eturned to Offender:


1-127 Back (Revised 11-2010)
                                                                                                                                                             A pendix F
      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 3 of 62 PageID #: 620


                                                                                                - . - OFFICE. USE ONLY

                           Texas.Dep artmenifof nminal Justice                                  Grievance #:

                                                                                                BGI Reed Date:   _____l__
                         STEP 2 . OFFENDER .                                                    HQ Recd Date:¦'
                                                     GRIEVANCE FORM                             Date Due:

 Offender Name:_£                                                                               Grievance Code:

Unit:                               Housing Assignment:                                         Investigator ID#:

 Unit where incident occurred: fii Me-l                                                         Extension Date:

                   A/\&D1CA & CY
        Yo must attach the completed Step 1 Griev nce that has been signed by the Warden for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has been retur ed u proc ssed... .. .


Give reason for appeal           ic). I am dissatisfied with the response at Step 1 because.... j I
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        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 4 of 62 PageID #: 621


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Offender                           Signature:                          Date:                     -li-M
Grievance Respo se:




Signature                                   Authority:                                 Date:

Returned because: Resubmit this form when corrections are made.                 OFFICE USE ONLY
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EJ 1. Grievable time period has expired.                           Date UGI Recd:
EJ 2. Ulegible/Incomprehensibie.                                   Date CGO Recd:
                                                                       (check one) Screened Improperly Submitted
lJ 3. Originals not submitted.
                                                                   Commenfe1
[ 4. Inappropriate/E cessive attach ents.
                                                                   Date Retu            ed to Offender:
EZ1 5. Malicious use of vulg r, indecent, or physically threatening language. 2 Submission CGO Initi ls:
                                                                   Date UGI Recd:
    6. Inappropriate.*
                                                                   Date CGO Recd:
                                                                       (check one) Screened Improperl Submitted
                                                                   Comments:

CGO              Staff            Signature:                       Date Retu            ed to Offender:

                                                                   3     Submission CGO Initials:
                                                                   Dat            UGI Recd:
                                                                   Date CGO Recd:
                                                                       (check one) Screened Improperly Submitted
                                                                   Com                      ents:
                                                                   Date Retu            ed to Offender:


1-128 Back (Revised 11-2010) C pig )                                                         A endi G
      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 5 of 62 PageID #: 622

                                                                                             OFFICE USE ONLY ¦

                        Texas Department oTCriminal J stice                             Grievance #: ISK166O
                                                                                        UGI Recd Date: ;
                     STEP2 .. OFFENDER ¦                                                HQ Recd Date: '
                                                GRIEVANCE FORM                          .D     te     Due:

Offender Name: iMfMA                               TDCJ#             V                  Grievance Code: ¦

Unit:           Housing Assignment:                                                     Investigator ID#:

Unit wher             i cident occurred: /fe                                            Extension Date:



       You must attach the completed Step 1 Grievance that has been sig ed by the Warden for your Step 2 appeal to be
       accepted. You m y ot appeal to Step 2 with a Step 1 that has been retur ed u processed.


Give reason for appeal (Be Specific). I am dissatisfied ith the response at Step 1 because... ill




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               sd 11-2010) YOUR SIGNATURE ISJREQUIRED ON BACK OF THIS FORM (OVER)
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MCm.




Offender Signature:                                                                   Date:

Grievance Response:




Signature                                      Authority:                                           Date:

Returned because: Resubmit this form when corrections are made.                               OFFICE USE ONLY
                                                                                Initial Submission CGO Initi ls:
O 1. Grievable time period has expired.                                         Date UGI Recd:

EJ 2. Illegible/Incomprehensible.                                               Date CGO Recd:
                                                                                    (check one) Screened Improperly Submitted
    3. Originals not submitted.
                                                                                Comments:
    4. Inappropriate/E cessive attachments.
                                                                                Date Returned to Offender:
EZ1 5. Malicious use of vulgar, indecent, or physically threatening langu ge.   2     Submission CGO Initials:
                                                                                Date UGI Recd:
CJ 6. Inappropriate.
                                                                                Date CGO Recd:
                                                                                    (check one) Screened Improperly Submitted
                                                                                Comments:

CGO               Staff           Signature:                                    Date Returned to Offender:

                                                                                S151 Submission CGO Initials:
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                                                                                Date CGO Recd:
                                                                                    (check one) Screened Improperl Sub itted
                                                                                Comments:
                                                                                Date Returned to Offender:



1-128 Back (Revised 11-2010)                                                                              A pendix G
        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 7 of 62 PageID #: 624
                    Texas Dep rtment of Crimin l J stice

                                                       OFFENDER
                      STEP1                                            FORM

Offender Name:                                            TDCJ#                          Investigator ID #:

Unit:                         ]Housing
                                   -   Assignment:                                       Extension Date: ¦

Unit where incident occurred:                                                            Date Retd to Offen er:



You must try to resolve your problem with a staff member before you submit a formal compl int. The only exception is when
appealing the results of a disciphnary hearing.                                            'r J J Z « j -
Who did you talk to (name, title)?                                         (Jill        Whep? rfn                nff
What                       was                    their                  response?

What                          action                            was                     taken?

State your grievance in the space provided. Please state who, what, when, where and the disciplinary case number if appro riate



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          Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 8 of 62 PageID #: 625




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 Fe                           r<?/fi                                              w/ZoiZ                                                            ,
Offender Signature: ' Date: - - -

Grievance Response:*




Signature                                         Authority:                                                                 Date:                           ....
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response?
State the reason for appeal on the Ste 2 Form.

Returned because: Resubmit this form when the corrections are made.

    1. Grievable time period has expired.
i~~l 2. .Sub ission in excess of 1 every 7 days.                                                                          OFFICE USE ONLY p
                                                                                                               Initial Submission UGI Initials:
I~1 3. Originals not submitted.
                                                                                                               Grievance                                     #:
    4. Inappropriate/Excessive attachments.
                                                                                                               Screening- Criteria Used:j ? . «
Fl 5. No documented attempt at informal resolution.
                                                                                                               Date Recd from Offender:
Fl 6. No re uested relief is stated. * .
                                                                                                               Date Returned to Offender: i t t -2
    7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                                  Submissipn. U I Initials: Al:/
    8. The issue presented is not grievable. ' , m
                                                                                                               Grievance #:                                , -..
PT9. Redundant, Refer to grievance # .QI f).                                                                   Screenin             Criteria Used:                it
  I 10. Illegible/Inco prehensible.,                                                                           Date Recd from Offender: .

    11. Inappropriate.                                                  f) /                                   Date Returned to Offender: t~yZ/< ; '
UGI PrintedName/Si nature: r ¥ 1 Ma                                                                               Sub ission UGI initials: D R
                                                                                                               Grievance                                     #:
A lication of the screening criteri for this grievance is not expected to dversely
                                                                                                               Screening Criteria Used:
Affect the offender s health.
                                                                                                               Date Recd from Offender: UL fi
Medical Signature Authority:                                                                                   Date Returned to Offender: Jia n

1-127 Back (Revised 11-2010)
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        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 9 of 62 PageID #: 626

                                                                                                  OFFICE USE ONLY
                           Texas Dep rtment of Criminal J stice                                Grievance #: wzsz
                                                                                               UGI Recd Date:
                        STEP 2 OFFENDER                                                        HQ Recd Date:
                                                  . GRIEVANCE FORM                             Date       Due:

 Offender Name: f (e                          i   TOC J # l~                                   Grievance Code:

 Unit:              Housing Assignment:                                                        Investigator ID#:

 Unit where incident occur ed: /n hae I                                                        Extension Date:



        You must attach the completed Step 1 Grievance that has bee sig ed by the Warde for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has bee returned unprocessed.


Give reason for appeal (Be Specific). lam dissatisfied ith the response at Step 1 because...




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      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 10 of 62 PageID #: 627




Offender Signature:                                                                  Date:

Grievance Response/




Si        nature                        Authority:                                       Date:                               -

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                                                                               Initial Submission CGO Initials:
    1. Grievable time period has expired.                                      Date UGI Recd:_                       ¦

d 2. Illegible/I comprehensible.                                               Date CGO Recd:
                                                                                   (check one) Screened Improperly Submitted
Cl 3. Originals not submitted.
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  l 4. Inappropriate/E cessive attachments.
                                                                               Date Retu ed to Offender:
Cl 5. Malicious use of vulgar, indecent, or physically threatening language.   2     Submission CGO Initials:

Cl 6. Inappropriate.*                                                          Dat           UGI Recd:
                                                                               Date CGO Recd:_                                   .
                                                                                (check one) Screened Improperl Submitted
                                                                               Comments:                                 ¦   •   -

CGO Staff Signature:                                                           Date Returned to Offender:

                                                                                -Submission CGO Initials:
                                                                               Date UGI Recd:
                                                                               Date CGO Recd:                                ¦

                                                                                (check one) Screened Improperly Submitted
                                                                               Comments:

                                                                               Date Returned to Offender:



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           Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 11 of 62 PageID #: 628
                      Texas Department of Criminal Justice                                       OFFICE USE ONLY
                                                                                         Grievance #:
                        CTE-D 1 OFFENDER                                                 D te Received:
                        ?> 1 IL1 1 aGRIEVANGE FORM
                                                                                         Date Due:

                                                                                         Grievance Code:

  Offender Name: TDC Js#                                                                 Investigator ID #: '

  Unit:             Housing Assignment:                                                  Extension Date:

  Unit where incident occurred:                                                          Date Retd to Offender:



  You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is hen
  appealing the results of a disciplinary hearing. j I /iffL
. Who did you talk to (name, title)? yfy'O
  What was their response? CMY'/llftM li wr fj/
  What                    MS
                      action                 was             taken?                                                           -

  State your rievance m the space provided. Please state who, what, when, where and the disciplinary case number if appropriate




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Offender Signature: :            Date: g**

Gr eva ce Response:




Signature Authority:                                                                                    '           ' ¦ Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator ithin 15 days from the d te o the Step 1 response.
State the reason for ap eal on the Step 2 Form.

Returned because: Resubmit this form when the corrections are made.

T~11. -Grievable time period has expired.
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Fl 4. Inappropriate/Excessive attachments.
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    5. No documented attempt at informal resolution.
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    6. No requested relief is stated.
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Fl 7. Malicious use of vulgar, indecent, or physically threatening language. 1
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    8. The issue presented is not grievable.                                                                  Grievance                                #:
09. Redundant, Refer to grievance                                                    '
    10. Illegible/Incomprehensible.                                                                           Date Recd from Offender:

    11. Inappropriate.                                       /I       I                                       Date Returned to Offender: ' uc )jy

UGI Printed Name/Signature:                                                                                   y -Sub ission. UGI Initials:.
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   plication of the screening criteri for this grievance is not expected to adversely
                                                                                                              Screening Criteria Used:
Affect the offender s health.
                                                                                                              Date Recd from Offender: (>
Medical Signature Authority:__                                                                                Date Returned to Offender: t ')

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                                                                                                        OFFICE USE ONLY
                            Texas Department of Criminal J stice                                   Grievance

                                                                                                   UGI Recd Date: _
                        STEP 2 OFFENDER                                                        HQ Recd Dafei ¦
                  Domon Hesla grievan m                                                        Date D e: *

                                                                                               Grievance Code:

  Unit:                      >                                                                 Investigator ID#:

  U it where incident occurred:                                               ¦                Extension Date:



         You must attach the completed Step 1 Grievance that has been sig ed by the. W rde for your Step 2 appeal to be
          ccept d. You m y not appeal to Step 2 with a Step 1 that has bee returned u proc ssed.

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Offender                          Signature:                         •          Date:

Grievance Response:




Signature                                   A        thorin                :         Date:


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                                                                               Initial Submission CGO Initials:
U 1. Grievable time period has expired.                                        Date UG1 Recd:

Q 2. IHeg ble/Incomprehensibie. .                                              Date CGO Recd:                           '
                                                                                   (check one) Screened Improperly Submitted
D 3. Originals not submitted.
                                                                               Comments:
El 4. Inappropriate/Excessive attachments.
                                                                               D te Retu            ed to Offender:
LJ 5. Malicious use of vulgar, indecent, or physically threatening language.   2    Submission . CGO Initials:
                                                                               Date UGI Recd:
    6. Ina propriate. . '
                                                                               Date CGO Recd: - ¦

                                                                                   (check one) Screened Improperly Submitted
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CGO Staff Signature:                                                           Date Returned to Offender:

                                                                               3    Submission : ¦ CGO Initials:
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                                                                               Date Returned to Offender:



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                    Texas Dep rtment of Criminal Justice

                      Q FE D I OFFENDER
                          1 IL 1 GRIEVANCE-FORM

Offender Name: UMlO                            ' TDCJ #.                               Investigator ID #:

Unit:         i /     _ Housing Assignment:                                            Extension Date:

Unit where incident occurred:                                                          Date Retd to Offender:



You must try to resolve your problem with a staff member before you sub it a formal com laint. The only exception is hen
appealing the results of a disciplinary hearing, i t a                                            s   ¦ A** /' 1/i         ) '
Who did you talk to (name, title)? When? '
What                       was                  their                   response?
           wasta                  en           >         /     ei

State your rieva ce ip the space provided, lease state who, wh t, when, here and the disciplinary case number if appropriate
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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                          (OVER)

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         Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 16 of 62 PageID #: 633




Action Requested to resolve your Complaint.


  Vii o I' r i afi g                                                              ennn n r i/ r h S.
Offender                                          Signature:                                                         Date:                              y*

. Grievance Response:




Signature                                                     Authority:                                                       Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator ithin 15 days from the date of the Ste 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: Resubmit this form when the corrections are made.

 Fl 1. Grievable time period has expired.
 O 2. Submission in excess of 1 every 7 days.                                                                            OFFICE USE ONLY
                                                                                                              Initial Submission UGI Initials: / r
 03. Originals not submitted.              .
                                                                                                              Grievance #: MI73S31
 I~l 4. Inappropriate/Excessive attachments.
                                                                                                              Screening Criteria Used: 17 . . ri
 l~l 5. No docu ented attempt at informal resolution.
                                                                                                              Date Recd from Offender: ...
 Fl 6. . No requested relief is stated.
                                                                                                              Date Returne to Offender: JUL 1
 O 7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                             '    Submission. yGI Initials:
                                                                                                                  Grievance         #: ~IK. -¦
    8. The issue presented is not grievable.
T~1 9. Redundant, Refer to grievance #                                                                           Screening Criteria Used:
     10. Illegible/Incomprehensible.                                                                             Date Recd from Offender:
 l~i 11. Inappropriate.                                                                                          Date eturned to Offender: z sS-
 UGI Printed Name/Signature:                                                                                       Submission            ' UGI Initials:           '
                                                                                                                 Grievance                                 #:
 A plication of the screening criteria for this grieWnce is'not expected to adversely
                                                                                                                 Screening Criteria Used:
 Affect the offender s health.
                                                                                                                 Date Recd from Offender: MG t
 Medical Si nature Authority:                                                                                    Date Returned to Offender:

 1-127 Back (Revised 11-2010)
                                                                                                                                                            Appendi F
       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 17 of 62 PageID #: 634

                                                                                                 OFFICE USE ONLY

                          Texas DepartmenroFCnminal Justice                                  Grievance #:

                                                                                             UGI Recd Date:
                       STEP 2 OFFENDER                                                       HQ Recd Date:
                                                   GRIEVANCE FORM                            Date          Due:

Offe der Name:.                   H shinJ TDCJ#                                              Grievance Code:

Unit:                              Ho sing Assignme t:                                       Investigator ID#:

Unit where incide t occ rred:          ichoel                                                Extension D te:



        You must attach the completed Step 1 Griev nce that h s been sig ed by the Warden for your Step 2 appe l to be
         cc pted. You may not appeal to Step 2 with Step 1 that has been returned unprocessed.




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1-128 Front (Revised 11-2010)           YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                              (OVER)
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Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 18 of 62 PageID #: 635
      IlCase 6:22-cv-00006-JCB-KNM             Document 40-1 Filed 03/07/22 Page 19 of 62 PageID #: 636
ill
                     T«as Departme t ©I Crimi al J stice                                      OFFICE USE ONLY
                       C        1   _   J    J    .    v    i   ;   '
                                                                                       Grievance                      #:
                                                      OFFENDER ¦
                                                                                       Date Received:
                 -    kD        I 1 GRIEVANCE FORM
                                                                                       Date               Due:

                                                                                       Grievance Code:

Offender Name:                                               tdCj #                    Investigat r ID #:

Unit: .. Housing Assignment: ¦                                                         Extension Date:

Unit where incident occurred: -/H                                       :   -          Date Retd to Offender:



Yo must- try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
. appe ling the results of a disciplinary hearing, a ¦  /t
 Who did you talk to (name, title)?                ¦   hen?'
What was their response? n dayS- I                                                                           ~       '
What                            action                          was                   taken?

State your grievance in the space provided. Please state who, what, when, here nd the disci linary case number if a ro ri te »

                                                                                                                            &W
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1-127 Front (Revised 11-2010)


                                                                                                                    Appe dix F
         Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 20 of 62 PageID #: 637




Signature                                      Authority:                                           ¦             '       Bate:*                          ¦
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from, the date of the Step 1 response.
State the reason for appeal on the Step 2 Form. , ' ,                                                                                    '

Returned because:'       ' Resubmit this form when the corrections are made.

   a Grievabie time period has expired.
P71 2.' Submission in excess of f every 7 days.
    3. Originals not submitted.

    4. Inappropriate/Excessive attachments.

    5. No documented attempt at informai resolution.

    6. No requested relief is stated..

    7. Malicious use of vulgar, indecent, or physically threatening language.

    8. The issue presented is not grievable.

    9. Redundant. Refer to grievance #

    10. legible/Incomprehensible.
o 11. Inappropriate.                                                /

UGI Printed Name/Signature:

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender s health.

Medical Signature Authorit :

1-127 Back (Revised 11-2010)
                                                                                                                                                              Appendix T
1-28Front(Revisd1-20)YOURSIGNATUREIS QUIREDONBACKOFTHISORM(VER)   Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 21 of 62 PageID #: 638




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     Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 22 of 62 PageID #: 639




Offender Signat re:                                                              Date:

Grievance Response:




Signature                                Authority:                               '       Date:


Returned bec use: Resiibmit this form when corrections are macle.                     OFFICE USE ONLY
                                                                             Initial Submission CGO Initials: ____
E   1.   Grievable time period has expired. . ,                              Date UGI Recd:

O 2. Illegible/Incomprehensible. '                                           ¦ Date CGO Recd:
                                                                              (check one) Screened Improperly Submitted
Q 3. Originals not s bmitted.
                                                                             Comments:
    4. Inappropriate/Excessive attachments.
                                                                             Date Retu         ed to Offender:
O 5. Malicious use of vulgar, indecent, or physically threatenin lan ua e.   2   Submission CGO Initials:
                                                                             Date UGI Recd:
EJ 6. Inappropriate.*
                                                                             Date CGO Recd:
                                                                              (check one) Screened Improperly Submitted
                                                                             Comments:

CGO Staff Signature:                                                         Date Returned to Offender:

                                                                             3°* Submission CGO Initials:
                                                                             Date UGI Recd:
                                                                             Date CGO Recd:
                                                                              (check one) Screened Improperly Submitted
                                                                             Comments:

                                                                             Date Returned to Offender:



1-128 Back (Revised 11-2010)                                                                        Appendix G
       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 23 of 62 PageID #: 640

                    Texas Department off Crimi al J stice

                                                     OFFENDED
                      STEF 1                         E VANCE SORM

Offender Name                                           TDCJ #                         Investigator ID #: ¦

Unit: '     I     Housing Assig ment:                                                  Extension Date: :

Unit where incident occurred: M                                                        Date Retd to Offender:



You. must-try to resolve your problem with a staff member before you submit a formal, com laint. The only exception is when .. '




What was their response?                                             i 7dfc? ': -¦                 t w- I
What                          action                            w           s        taken?




                                           n       T      bng rtrt Xfi




                                                                                         fey
                                                                                     /w ft
fflfegf A J,                        5 SferrfefilL by                                          t
fi      o-ptfiy i                     ir c&hf hs e.
 y          O-fftc                               -        o           l      u                                .e
1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)


                                                                                                                   Appendi F
        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 24 of 62 PageID #: 641




Signature                                  Authority:                                 ¦          :         .¦      -Date:                        -   .       ¦
If you a e dissatisfied with the'Step 1 re ponse, ou ma submit'a Step 2 (1-123) to the U iit Grievance Inve tigator within 15 days fromrihe date <
State            the        reason                 for      ap        eal       on        the        Step            2    Form.              .           '

Returned because:           •¦'Resubmit this form when the corrections are made.

o 1. Grievable time period has expired.
jV 2. Submission in excess of 1 every 7 days.                                                                             OFFICE USE
                                                                                                               Initial Submission UGI Initials: { .f
o 3. Originals not submitted.
                                                                                                               Griev nce #.
    4. Inappropriate/Excessive attachments.
                                                                                                               Screen i ng:Crritef i a Used :
    5. No documented attem t at informal resolution.
                                                                                                               Date Recd from Offender:
    6. No requested relief is stated. .
                                                                                                               Date Returned to Offen er: EQ i isff
    7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                               2'wsuhm,ssip_n UG. snitia s:.
Fl 8. The issue presented is not grievable.                                                                    Grievance                                     #
[ | 9. Redun ant, Refer to grievance #___                                                                      Screening Criteria Used: w
I I 10. Illegible/Incomprehensible.'                                                                           Date Recd from Offender:
   . 11. Inappropriate.                                                                                        Date Returned to Offender:

UGI Printed Name/Signatiire:                                                                                   MMIiibmission             .UGI Initials: /K'
                                                                                                               Grievance                                     #:
Application of the screening criteria for this grievance is not expected to adversely
                                                                                                               Screening Criteria Used: l
Affect the offender s health.
                                                                                                               Date Recd from Offender: rL 13
Medical Signature Authorit : ¦ '                                                               •               Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                                 ppendix b
       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 25 of 62 PageID #: 642

                                                                                                  OFFICE USE ONLY

                          Texas DepartmenrofCriminal J stice                                  Grievance #:        9 77


                       STEP 2                          OFFENDER
                                                                                              UGI Recd Date:

                                                                                              HQ Recd Date:
                                                   GRIEVANCE FORM                             D     te      Due:

Offender Name:.                                              TDCJ#                            Grievance Code:

Unit:            Housing Assi                                                                 Investig tor ID#:

Unit where inci ent occurre :                                                                 Extension Date:



        You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
        accepted. Yo may not appeal to Step 2 with a Step 1 that has been ret rned unprocessed.


Give reasoi                             r am dissatisfied with the response at Step 1 because... „ .
                                            cc phffs y




-ter w                                 l fe fc
                                                    y fefa/y 5 > '




1-128 Front (Revised 11-2010)           YOUR SIGNATURE IS REQUIRED ON BACK OF T IS FO M                              (OVER)
                                                                                                                   Appendix G
      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 26 of 62 PageID #: 643




Offender                                            Signature:

Grievance Response:




Signature                                Authority:_                                Date:

Returned bec use: Resubmit this form when correcti ns are made.               OFFICE USE ONLY
                                                                    Initial Submission CGO Initials:
EJ 1. Grievable time period has expired.                            Date UGI Recd:

El 2. Illegible/Incomprehensible.                                   Date CGO Recd:
                                                                     (check one) _Screened Improperly Submitted
D 3. Origin ls not submitted.
                                                                    Comments:
D 4. Inappropriate/Excessive att chments.
                                                                    Date Retu ed to Offender:

    5. Malicious use of vulgar, indecent, or physic lly thre tening l ngua e. 2° Submission CGO Initials:
                                                                              Date UGI Recd:
    6. Ina propriate.*
                                                                              Date CGO Recd:
                                                                     (check one) Screened Improperl Submitted
                                                                    Comments:

CGO Staff Signature:                                                Date Returned to Offender:

                                                                    3   Submission CGO Initi ls:
                                                                    Date UGI Recd: ¦
                                                                    Date CGO Recd: '
                                                                      (check one) Screened Improperly Submitted
                                                                    Comments:
                                                                    Date Retu       ed to Offender:



1-128 B ck (Revised 11-2010)                                                                Appen ix G
       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 27 of 62 PageID #: 644
                    Texas Departme t of Criminal Justice                                       OFFICE USE ONLY
                                                                                        Grievance #:
                      tnrrn i offender                                                  Date Received:                   !
                          1 ILr 1 RIEVANCE FORM
                                                                                        Date                  Due:

                                                                                        Grievance Code:

Offender Name: TDCJ #                                 .                                 Investig tor ID #:;

U it:         Housing Assignment: « £- //                                               Extension Date: ,

Unit where incident occurred:                                                           Date-Retd to Offender:



You must try to resolve your problem with a staff member before you submit a formal complaint. he only exception is when ' :.
appealing the results of a disciplinary hearing, /x                                                   ,. .. t. r- . wU
Who did you talk to (name, title)?                          rf/g)     ? /W-            , Whe ?-
What was their response? jhe 'fe                                               Ex y g/;'. . , ¦ :w
What action was taken? nd-yxfefe ?r fe -fo WgC
State your grievance in the space provided. Please state who, what, when, where and the disciplinary case numbet f appropriat




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1-127 Fro t (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM 'foVER)


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      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 28 of 62 PageID #: 645




Signature                             Aathoritv:--                               ¦    v      -    -             -    ¦    .Date:                   ¦         -   ;
If yo are dissatisfied with the Step 1 response, yo may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: '¦'¦Resubmit this form when the corrections are made. • .



       Submission in excess of 1 every 7 days.        .                                                                  OFFICE USE ON
                                                                                                              Initial Submission. UC-I In-itjals:.
[J3. Originals not submitted.
                                                                                                              Grievance                                      #:
Fl 4. Inappropriate/Excessive attachments.
                                                                                                              Screening Criteria Used: 7 /
     . No documented attempt at informal resolution. •
                                                                                                              Date Reed from Offender:
    6. No'requested relief is stated.
                                                                                                              Date Retu               ee to Offender:
07. Malicious use of vulgar, indecent; or physically threatening language.
                                                                                                              2IU1-Submissit>n                   laitiais:
    8. The issue presented is not grievable:'
                                                                                                              Grievance                                      #:
n 9      - Redundant, Refer to                            rievance #                                          Screening Criteria Used:
o 10. Iliegible/Incomprehensible. '-11                                                                        Date Recd from Offender: \Q
O 11. Inappropriate.                                                                                          Date Returned to Offender:

UG-1 Pri ted Name/Signat re: (_                                                                               3 -SubmissiQu UG1 .Initials:
                                                                                                              Grievance                                 #:
Applicatio ®f the screening criteria for this grievance is iiot expected to adversely
                                                                                                              Screening Criteria Use : j
Affect the offe der s health.
                                                                                                              Date Recd from Offender: SfPn y is
Medical Signature Authority:.                                                                                 Date Returned to Offender: 1<L'

1-127 Back (Revised 11-2010)
                                                                                                                                                             Appendix F
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    Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 29 of 62 PageID #: 646
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Offender                                      Signature:                                                   *        *¦

Grievance Response:




Signature                            Authority:                                       Date:                     ¦    -


Returned because: Resubmit this form when corrections ar mad .                     . . . -OFFICE USE ONLY ¦ /'
                                                                              Initial Submission •. CGO Initials:
    1. Grievable time period has expired.                                     Date UGI Recd:

O. 2. Illegible/IncomprehensiWe. .                                            Date CGO Recd:                                     :
                                                                                  (checlcone) Screened   hiiproperiy Submitted
JZ] -.3. Or ginals not submitted.    -
                                                                              Comments:                                '
-El\4. In ppro riate/Excessive attachments.
                                                                              Date Returned to Offen er:
0 5. M licious use of vulg r, indecent, or physically threatening lang age.   2    Submission CGO Initials:                ____

                                                                              Date UGI Recd:
• S 6. Inappropriate.* ¦
                                                                              Date CGO Recd: - - ¦ .                   : ? -

                                                                                  (check one) Screened -Improperly.Submitted

                                                                              Comments:                                    -

CGO Staff Signature:-- ' '                                                    Date Returned to Offender:                         _

                                                                              3°* Submission CGO Initials:
                                                                              Date UGI Recd:
                                                                              Date CGO Recd: ~

                                                                                  (check one) Screened -Improperly Submitted

                                                                              Comments:

                                                                              Date Returned to Offender:



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                                                                    31 of 62 USE
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                                                                                 ONLY
               ¦ Texas Departme t ©ff Criminal J stice'
                                                                                        Griev              nce            #:
                                                     OFFENDER ¦
                      STEF 1                                              RM
                                                                                        Date Received:

                                                                                        Date                   Due:

                                                                                        Grievance Code:

Offender Name: (JarHO /jgg zw                           TDCJ#                           Investigator ID #:

Unit: Housing Assig me t:                                                               Extension Date:

¦ Unit where incident occurred:                                                         Date Ret          to Offender:



You must try to resolve your problem with a staff member before you submit a formal complaint. he only exception is when
appealing the results of a disciplinary hearing. ( Z s; '' ©If 1'1
Who did you talk to (name, title)? . When? I /,
What was their response?

  hat              action                     was                 taken?                                  .

State yo r grievance in the space provided. Please state who, what, when, here nd the




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                           feA        s sn                                                      1 **   f t •   a « » » • -K- . . .. .. .

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  127 Front Revised 11 -2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                                (OVER)

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       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 32 of 62 PageID #: 649




Signature                             Authority:                                      '     '        -    ¦    ¦   Date:                    ______
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 da s from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form. ¦, . ¦ ¦

Returned because:        Resubmit this form when the corrections are made.

    1. Grievable time period has expired.
S I 2. Submission in excess of 1 every 7 da s.                                                                          ¦ OFFICE USE ONLY
                                                                                                               InitialitSiibmission UGI initials: I F
Fl 3. Originals not submitted.
                                                                                                               Grievance                                   #:
I I 4. Inappropriate/Excessive attachment's.
                                                                                                               Screening Criteria Used'
05. No documented attempt at informal resolution.
                                                                                                               Date Recd from Offender:
I I 6. No requested relief is stated.
                                                                                                               Date Returned to-Offender:
    7. Malicious use of vulgar, indecent, or hysically threatening langua e.
                                                                                                               l S-Ubmissipn initials: M.N
Os. The issue presented is not grievable.                                                                      Grievance                       #:     ..   f
I i 9. Re undant. Refer to grievance #_                                                                        Screeni g Criteria Used: *1,?
    10. Illegible/Incomprehensible.                                                                            Date Recd from Offender :
o 11. Inappropriate.                                                                                           Date Returned to Offender:

UGI Printed Name/Signature:                                                                                    3N-Submission               yC. initials: l
                                                                                                               Grievance                                 #:       -
Application of the screening'criteria for :                                  expected tp adversely
                                                                                                               Screening Criteria Used:
Affect the offender s health. . ¦_/
                                                                                                               Date ecd from Offender: Ef l(c
Medical Sign ture Authority:                                                                                   Date Returned to Offender:

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                                                                                                                                                               Appendix F
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                                                                                                   OFFICE USE ONLY
                          Texas Departme t 6T Crimin l Justice                                Grievance #:



                       STEP 2                           OFFENDER
                                                                                              UGI Recd Date:

                                                                                              HQ Recd Date:
                                                    GRIEVANCE FORM                            D     te   Due:

Offender Na e:         m O'                                  tocj #                           Grieva ce Code:

Unit: Meh a el                     Housing Assignment:                                        Investigator ID#:

Unit where incident occurred: /H                /                                             Extension Date:

                                    Bw£fa/ » y
        You must attach the completed Step 1 Grievance that has been sig ed by the Warden for your Step 2 appeal to be
        accepted. Yo may not appeal to Step 2 with a Step 1 that h s been return d unprocessed.




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                        SG e                 rp 4fl no'v                        on                S e H L enJ
less erllempk ~                                     ifneG cal/y w nGoll mv
    Ms fa             vey/ C Gi m perpe ro b Qb S'                                                       exas ' • ¦'~~
    4f t j U r Cah of hu G ' zDxGiT 'kGce




1-128 Front (Revised 11-2010)           YOUR SIGNATURE IS EQUIRED ON BACK OF THIS FORM                               (OVER)
                                                                                                                   Appendix G
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Offender                            Signature:                                     Date:

Griev nce Response: -




Si      nature                 Authority:                        ¦   :   Date:


Returned bec use: Resubmit this form when correction are m de.                             OFFICE USE ONLY
                                                                              Initial Submission               CGO Initials:
d 1. Grievable time period has expired.                          . ¦ -        Date UGI Recd:

Cl 2. Illegible/I comprehensible.                                             Date CGO Recd:
                                                                                (check one) Screened          Improperly Submitted
    3. Origin ls not submitted.
                                                                              Comments:
D 4. Inappropriate/Excessive tt chments.
                                                                              Date Retu ed to Offender:

EZI 5. M licious use of vulgar, indecent, or hysic lly threatenin l nguage.      Submission                  CGO Initials:
                                                                              Date UGI Recd: _____
[Zl 6. In ppro riate.
                                                                              Date CGO Recd:
                                                                                (check one) Screened           Improperl Submitted

                                                                              Comments:.

CGO Staff Si nature:                                                          Date Returned to Offender:

                                                                              3 Submi sion                   CGO Initials: '
                                                                              Date UGI Recd:
                                                                              Date CGO Recd:
                                                                                (check one) Screened           Improperly Submitted

                                                                              Comments:

                                                                              Date Returned to Offender: •



1-128 Back (Revised 11-2010)                                                                                 A pen ix G
        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 35 of 62 PageID #: 652
                 .Tezas Departme t of Crimi al J stice              OFFICE USE ONLY

                                                                                      Grievance #: O 7F
                                       Y • ©WINDER                                    Date Received:
                       ©JlWli 1 . GRIEVANCE«©RM
                                                                                      Date Due:

                                                                                      Grievance Code:

Offender Name:                           amon               TDCJ #                     Investigator ID #:

Unit:        _ Ho sing Assignment:                         E-33                        Extension Date:

U it where inc de t occ rred:                                                          Date Retd to Offender:



You must try to resolve your problem with a staff member before you submit a formal complaint. The onl exception is when
appealing the results of a'disciplinary hearing, / n
 ho did' you
         uu  talk La
                  to (name,
                         s. title
                                IU? _ ¦ yiaiirc, tici; ¦            ¦   ¦   i   When?          ,   6     /

What was 1their response?.

What                         action                           was                     t     ken?

State your grievance in the spaceprovided. Please state who, what, when, where and the disciplinary casemumber if appropri te j
                                        fe c                   N an -fh.ffr                                    $           .
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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FOTIM (OVER)


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        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 36 of 62 PageID #: 653




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giif fer , L .¦ ;c;<. .Ruftoy/- tte Cauih. th tec n e ti'lrl yfeff-..,.
Offender                                                             Signature:

Grievance Response:




Signature                                   Authority:                              -                      Date:                        ____
If you are dissatisfied with the Step 1 response, yo may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the , e.
State           the       reason              for      appeal              on       the       Step           2    Form.             .   '   '•    •   ¦   -

Returned because: Resubmit this form when the corrections are m de.

     . Grievable time period has expired.
                                                                                                                                                               j
                                                                                                                 OFFICE USE Err.E .
   2, Submission in excess of 1 every 7 days. •*
                                                                                                       Initial S bmission UGI Initials:_Zu~[
                                                                                                                                                               !
   3. Originals not submitted:
                                                                                                       Grievance             0 00                              I
n 4,. Inappropriate/Excessive attachments. -                . .
                                                                                                       Screening Criteria Used: #i . w
I I 5. No documented atte pt at informal resolution.
                                                                                                       Date"Recd from Offender:
                                                                                                                                                               )
   6. No requeste relief is stated.
                                                                                                       Date Returned to Offender: S't9 ]Q wy
   ?. Malicious use of vul ar, indecent, or physically threatening language.
                                                                                                       Z Suhmission y          UGI initials: Mhi
Os. The issue presented is not grievable.                                                              Grievance #:               0 3
I | 9. Redundant, Refer to grievance #                                                                 Screening Criteria Use                     ; M.         j
    10. Illegible/Incomprehensible.                     ¦                                              Date Recd from Offender:
    11. Inappropriate.                             ¦ - n                                               Date Returned to Offender:

UGI Printed Name/Signature: V                                                                          .SnRSubmis.sion UGI Ini

                                                                                                       Grievance                                 #:
Application of the screenin criteria torihis                             ipected to adversely
                                                                                                       Screening Criteria Used: •ff 1 , ¦
Affect the offender s health.
                                                                                                       Date        ecd from Offender:
Medical Signature Authority:                                                                           Date Returned to Offender: yep ft as

1-127 Back (Revised 11-2010)
                                                                                                                                                 Appendix F
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                                                                                                  OFFICE USE ONLY

                          Texas                                                               Grievance #:

                                                                                              UGI Recd Date:
                       S EP 2 OFFENDER                                                        HQ Recd Date:
                                                   GRIEVANCE FORM                             Date         D       e:

Offe der Name:. b atm TDCJ #                                                                  Grievance Code:

Unit: /                  Ho si g Assig ment:                                                  Investigator ID#:

U it where incide t occurred: Mkhafi!                                                         Extension Date:



        You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 ppeal to be
        accepted. You m y not ppe l to Step 2 with a Step 1 that has been returned unprocessed.


Give




                                'tOh




1-128 Fro t (Revised 11-2010)           YOUR SIGNATURE IS REQUIRED' ON BACK OF THIS FORM                            (OVER)
                                                                                                                  Appendix G
         Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 38 of 62 PageID #: 655




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Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 39 of 62 PageID #: 656
      Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 40 of 62 PageID #: 657




Signature                       A      thority:                    -        -   ~         '   ¦     -   ~     Date:               A__AA____
If you-are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 re pon e.
State           the        reason                  for     appealbn                     the        Step           2-Form'.                  •••      -   ¦   "        '

Ret rned because:         Resubmit thistforrsi when the corrections are made.

Q l. Grievable tinie period has expired.
Q 2. Submission in excess of 1 every 7 da s. *                                                                            OFFICE USE ONLY ' ty
                                                                                                               Initial Submission . • -.UGI-Initials: .        -F •
    3. Originals not submitted.              - ¦
                                                                                                               Grievance
O-J. Inappropriate/Excessive-attachments; .
                                                                                                             . Screening Criteria Used: jLj ,
r~l 5. No documented attempt at informal resolution.
                                                                                                               Date Recd from Offender: QCT d
06. No. requested relief is stated. ¦                                    -¦
                                                                                                               Date Returned to Offender:
O 7. Malicio s use of vulgar, indecent, or physically threatening language.
                                                                                                               l Sabmissicn UGl Initials:.
o 8-. be is ue-presented is not grievable. '
                                                                                                               Grievance                                     #:
09-. R.edundant, Refer to grievance #                                                                          Screening Criteria Used:
O 10. Illegible/lncom rehensible.                            ¦                                                 Date Rec from Offender: OC
    11 . Inappropriate.                                                                                        Date Returned to Offender: itL Z

UGI Pri ted Name/Signaf re:                                                                                    3ASijb ssio.it. UG1 initials: T
                                                                                                               Grievance #:
Application of the screeni g criteria for this grievance is net expected to adversely
                                                                                                               Screening Criteria Used: 1 f
Affect the offender s health.
                                                                                                               Date Rec from Offender: OC
Medical. Signature Authority:                                                                                  Date Returned to O fender:

1-127 Back •Revised 11-2010)
                                                                                                                                                             Ap endix F
           Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 41 of 62 PageID #: 658

                                                                                                      OFFICE USE ONLY

                             Texas Departm Fo Crmiinal J stice                                   Grievance #: X m
                                                                                                 UGI Recd D te:
                          STEP 2 OFFENDER                                                        HQ Recd Date:
                                                      GRIEVANCE FORM                             Date       Due

Offender Name:. J on He bw tdcj # I35                                                            Griev nce Code':


Unit: /t i bppi Housing Assignment:                                                              Investigator ID#:

Unit where incident occurred: Mi ael i Cjsr rn I ( rieyon fi Oili                                Extension D te:



           You must attach the completed Step 1 Grievance that has been signed by the Warde for your Step 2 appeal to be
           accepted. You may not appeal to Step 2 with a Step 1 that has been returned nprocessed..


Give reason for appeal (Be Specific). I am dissatisfied with the response at Step 1 because... i
                                                                             dihxftCQm.m d

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¦Ad -t                                             w L fe y k/                                                               ' ,
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'       ja a Febt ry u                                       :

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                                    Mb



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n'p. ni Tre / .'k sbf)iMil Ty /)g//eorti me - t
                   ~lhe la / hile ye//bree 4he /a/ 4 pe eS T / j hyf f/ eyf An -
Qne Who Rg-ftese/t 4he h mt/shtho >llo 4he                                                lhert elves o di/phi>U4hem-


    1-128 Front (Revised 11-2010)           YOUR SIGNAT RE IS REQUIRED ON BACK OF THIS FORM                            (OVER)
                                                                                                                     Appendix G
     Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 42 of 62 PageID #: 659




        Z rt                   -                     .


Offender Signature:                                                                D           te:                d~

Grievance Response:




Signature                              Authority:                                  Date:

Returned because: Resubmit this form when corrections are made.               ' / : OFFICE USE ONLY
                                                                              Initial Submission               CGO Initials: ,
I I 1. Grievable time period has expired. ,                               •   Date UGI Recd: ?

I 1. 2. Illegible/Incdmprehensible.                                           Date CGO Recd: -
                                                                                (check one) Screened          Improperly Submitted
O 3. Origin ls not submitted.
                                                                              Comments: -
EJ 4. Inappropriate/E cessive tt chments.                                     Date Retu ed to Offender:

    5. Malicious use of vulg r, indecent, or hysically thre tening langu e., 2 Submission                    CGO Initials:
                                                                              Date UGI Recd:
EJ 6. Inappro riate. '
                                                                              Date CGO Recd:
                                                                                (check one) Screened           Improperl Submitted

                                                                              Comments:

CGO Staff Si nature:                                                          Date Returned to Offender:

                                                                              3 S bmission -                 CGO Initials:
                                                                              Date UGI Recd: '
                                                                              Date CGO Recd:
                                                                                (check one) Screened           Improperl Submitted

                                                                              Comments:

                                                                              Date Returned to Offender: _



1-128 Back (Revised 11-2010)                                                                                 Appendix G
       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 43 of 62 PageID #: 660
                    Texas Departme t of Crimi al J stice ...                                    OFFICE/ USE ONLY .

                                                                                        Grievance #:
                                                     . OF EWER
                      STEP 1                       E WANCE FORM
                                                                                        Date Received:

                                                                                        Date              Due:

                                                                                        Grievance Code:

Offender Name:                                          - TDc.j # J3 3£                 Investigator ID #:

Unit:        Housing Assignment: i .                                                    Extension Date: ____

Unit where incident occurred:                                  ik    .                  Date Retd to Offender:



You must try to. resolve your problem with a staff member before you s bmit a formal complaint The only .exception is when
a pealing the results                                f a disci linary hearing                               . . .      .
Who did you talk to (name, title)? ' when?
What                 was              their              response?                                  :           -    ,   '   ~

What action was taken?'                                             zt

State your grievance in the space provided. Please state who, what, when, where a d th disciplinary rase number if appropriate




                                              .     ...        ..        .          ,    .     ....            ,             .




1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQ'                                  THIS                               (OVER) .
G4 735
S/F Q7W                                                                                                              Ap endix F
            Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 44 of 62 PageID #: 661




                                                                                  l                   3




   ,g?y r
   Offender                                                                  Sig                            ature:

   Grievance Response: -




 .     Signature                            Authority:                               -                -¦          -    -    ¦    '   '    .   Sate:                 -

; If you re dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
     State the reason for appeal on the Step 2 Form.
- . II.I I             I I I IL.1 .1. Ji.l                       .. I I . I I I. J Jg.
   Returned because: "Resubmit this form when the-cbrrections are made.

¦ O1. Grievable time period has expired.                                       ¦ ¦ -' ;
 '¦ Qa Submission in e cess of-1 every 7 days. ..
                                                                                                                            OFFICE-USE ONLY
                                                                                                                 Initial Submission UG1 Initials: Zyiv
     Os. Originals not submitted.                                                                -
                                                                                                                 Grievance #: iiMo sn
     04.' Inappropriate/Excessive-attachments.
                                                                                                                 Screening Criteria Used:
        5. No documente attempt at informal resolution.
                                                                                                                 Date Reed from Offender:
     O 6. No requested relief is stated.
                                                                                                                 Date iUeturne                   to Offen er:
      l 7.-Malicious use o vulgar, indecent, or physically threatening language. . .
                                                                                                                 l Stihtgisition, "       ' UG5 initials:-
        8. The issue presented is not grievabie. 1                                                               ¦Grievance #?' W6'7 72.
        9. Redundant, Refer to grievance # (                                                                     Screening Criteria Used: I ,
     Fl 10. lllegible/Incomprehensible.                                                                          D te Recd.from O fender: _E£ £
     nil.        Inappropriate.                                                    •     .   '
                                                                                                                 Date Returned to Offender:

   UGI Printed Name/Signature: .                                                             _A-                 y -Submisttion {jGJ Initials:
                                                                                                                 Grievance                        #:          '
  . Application of the screeni g criteria fopt&is grievance is not expected to adversely
                                                                                                                 -Screenin               Criteria Used:
   Affect the offender s health. ' : ''
                                                                                                               ¦ - Date      ecd from Offender: - " - '

   Medical Signature Authority:                                                                                  Date       eturned to O fender:

   1-127 Baek (Revised 11-2010)
                                                                                                                                                              Appendix F
        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 45 of 62 PageID #: 662
             ¦ - ? Texas(i epartiiieiitof Crimi al J stice ;>        OFFICE USE ONLY ;

                                                         OFFENDEM
                         STEP 1                          1BNCE EORM
                                                                                            Date Received: .

                                                                                            Da         e     D      e:

                                                                                            Grievance Code:

 Offender Name:                                                tdcj #                       Investigator ID #:

 Unit: _Mm L_                Housing Assig ment:                                            Extension Date:

 Unit where incident occurred:                                                              Date Retd to Offender:



 You 'niESt:try t6t resolve your 'problem itIitYstaff :member;.b.efore'you submit a formal complaint. The only exception is when
¦appealing the results of a                            disciplinar            heapng; t             ' -:Frprti
 Who 'did you talk to (name, title)?                                                               "A - ¦-             ¦

' What was their response?




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     -W-29fffall                             e       tsme                       WemFM
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       W K e-ymofe ferseveralIm F - )2-<l'20l? ' tS Oem )2-t(2~2e>/
     fhe 12-13- 2of 5:iipm Fife'1-12- Oipm F ' fl-1'8-2 ff
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 l/)-22~ 20l , lill&re ChemlrrJ rrh vm! l/iwn real )2-2i/ 2nff ' All sy-feceS
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 1-127 Front (Revised 11-2010)                                                            (OVER)
                                             YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM


                                                                                                                           Appendix F
         Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 46 of 62 PageID #: 663




Action Requested to resolve your Complaint, i T7 0 <lr r »/ /




Offender                                                              Signature:

Grievance Response:




Signature Authority:                                                    . .       __________ Date:                                                      ___ ¦
If you are dissatisfied with the Step 1 res onse, you may submit a Step 2 (1-128) to the Unit Grievance Investigator w thin 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: . Resubmit this form when the corrections are made. .

O 1. Grievable time period has expired.
O 2. Submission in excess of 1 every 7 days.
~1 3. Originals not submitted.                                                                                 Initial Submission

                                                                                                               Grievance #:
Q 4. Jnappropriate/Excessive attachments.
                                                                                                               Screening
Q 5. No documented attempt at informal resolution. *
                                                                                                               Dace Recd from Offende
Q 6. No requested relief is stated.
                                                                                                               Date Returned to Offender:
D 7.; Malicious use of vulgar, indecent, or physically thre tening language.
                                                                                                               t Submissiori
LJ 8. The issue presented is not grievable
                                                                                                               Grievance #:
    9. Redundant, Refer to grievance # _Z                                                                      Screening Criteria Use :
[3 10. Illegible/Incomprehensible.                                                                             Date Recd from Offend.
O 11. Inappropriate.                                                                                           Date Returne to Offen .

UGI Printed Name/Signature:
                                                                                                               Grievance #:
Application of the screening criteria for this grievance is not expected to adversely
                                                                                                               Screening Criteria Used:
Affect the offe der s health.
                                                                                                               Date Recd from Offender:
Medical Signat re Authority:                                                                                   Date eturned to O fender:

1-127 Back (Revised 11-2010)
                                                                                                                                                             Appendix F
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                                                                    OFFICE          #: 664
                                                                             USE ONLY
                 Tezas Departme t ®f Crimi al J stice
                                                                                        Grievance #:
                                                  • /OFFENDEt ?'
                                                                                        Date Received:
                          JI JCr 1 GRIEVANCE <O>M
                                                                                        Date               Due:

                                                                                        Grievance Code:

Offender Name: iJiM ri Hssww tdcj # /3 35.                                              Investigator ID #:

Unit: kheJ           Housing Assignment: I1D-33                                         Extension Date:

Unit where incident occurred:                               1 .                         Date Retd to Offender:



You must try to resolve yo r problem with a. staff .'member before you submit a formal complaint. The only ex2e t -4 ««iea
appealing the results of a disciplinary hearing. '¦. ¦. . ¦ i . .p
Who did you talicto (name;title)?' •, • AvSAV 'Vrb When?
                                                   v    ' When? iJ W'
'What                        was                  their                   response?

¦Wh                    t      action                            was                    taken?

State your grievance in. the space provided. Please state who, what, when, where and the isciplinar case number if appropri te



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~~b - §$ anwwfa

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                                                                                                                     Appendix F
         Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 48 of 62 PageID #: 665




Signature                          Authority:                               .       .   ¦.     '   ¦   .   ¦-     -   A      ¦   c          Date:
If you are dissatisfied with the:Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievan e Investigator within 15 days from the date of the Step 1 response..
State               the           reason                    for        a        peal           on          the          St          T      orm.              .   '   -

Returned because:            'Resubm t this Am v/Sten the corrections are made.

    1. Grievable time period has dxpired. ¦
8X8 2. Submission in excess of 1 every,7 days.                                                                             OFFICE IW.QWY z
                                                                                                                 Initial Submission UG1 Initials: . v '
    3. Originals not submitted.
                                                                                                             .    Grievance                       #:          .j
    4. Inapp'ropriate/Excessive attachments.
                                                                                                               rScre ning Criteria Used:
05. No ocumented attempt at informal resolution.
                                                                                                                 Date Recd from,Offender: -
06. No requested relief is stated.
                                                                                                                 Date Returned to Offender: . 4
Fl 7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                                 2 Suhmission UGI Initials: li
    8.- The issue resented is not grievable.
                                                                                                                 Grieva ce A              WgW
   '9     Redundant. Refer to grievance #                                                                        Screening.Criteria Used: 2. . ~

    10. Illegible/Incomprehensible.                          ( y                                                 Date Recd from Offender: ak iL-aaa
    11. Inappropriate.                                           U                                               Date Returned to Offender: _                        £«

UGI Printed Name/Signatureu                                                                                      m-Suhmission UGI Initials:

                                                                                                                 Grievance                              #:
Application of the screening criteria for this grievance is not expected to adversely
                                                                                                                 Screening Criteria Used:
Affect the offender s health. '
                                                                                                                 Date Rec              front Offender:
Medical Signature Authority:.                                                                                    Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                              Appendix F
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                  Texas Departme t of Criminal Justice           - OFFICE USE ONLY

                                                                                       CH                 n        .
                                1! J O ENDER                                           Date Received:
                           I 1 GRIEVANCE FORM
                                                                                       Date             Due:

                                                                                       Grievance Code:

 Offe der Name: . J o l-leslan J tdcj # I 3£ .                                         Investigator ID #:

 Unit:           Housing Assignment:                                                   Extension Date:

 Unit where incident occurred: -                            il l     '., -    .-       Date Retd to Offender:



 You must try te resolve yo r roblem with a staff member before-you s bmit a formal complaint. The only exception is when
 appealing the results of a c!iscipli ary,hearing. .. ( . y- .-              j v.., . .,. w«A. . _. w.     - L, o ' ,,

                                      ni
 Who did you talk to (name, title)? CTP/gWtfC                                                      ~When?                /tf
 What was their response? LS.fei S&2£LA_                                               SS -j4£ -7 : r                    i '
 What action was taken? A                                          -Ofgfecfe                   i yaaggS                     ._
                                                                                                                      i ropriate
 State your grievance in the space provided. Please state who, w at, when,, where and the disciplinary case number if appropriate




                 Ats .




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. r W&fe ate we O Mll-f                                                              Mese                   ssl s
 L127 Front (Revised 11-2010) YOUR SIGNATURE K REQUIRED ON BACK OFTfflS FORM ¦: F ' ." • (OVER).
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¦ 5jF 3 7'2tfi1                                                                                                    Appendix F
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 i            b                  zi                        -i                 -              2                                .




Action Requested to.resolve your Complaint. S




Offender Signature:                                                                    3-iS-
Grievance Response.                                        '    ¦: i       •.- - CyC ' '. '




Signature                                  Authority:                                  .   ;    f          ,    v      .     "Date:                      •     .     .
 f ou are dissatisfied with the Step 1 response, you r&a'y submit a Step 2 (1-128) to’the Unit Grievance Investigator vvithih 15 dal's from, the date of the Step 1 response,
vtate the reasppifbr. appeal on fee S p :Jormt' ‘ , ..-_, : - - ¦ -•

  eturned because: ’                 Resubniit this form- when the corrections are made. . ... -. . .


    1.. Grievable tinie period has expired.. ’ .

  Cj 2. Submission in excess of 1 every 7 days.                                                                - ; A : OFFICE USE ONLY
                                                                                                                . Initial Submission J„ UGI Initials:               V
r~| 3. Originals not submitted.
                                                                                                                  Grievance #: g
Q 4. Inapprbpriate/Excessive-ittachineiits.                                ¦ ' , ' '
                                                                                                                 . Screening Criteria Used:
. !7}}5t No ocumented, attempt at informal resolution. * : . .' ' '
                                                                                                               . -Date Reed from Offender: /t 2f
CJ&'fNo request d relief js -stated,.,                             -. ¦      f ¦
                                                                                                                  Date Returned to Offender:
 J 7. Malicious use of vulgar, indecent, or physically threatening, language,; ?
                                                                                                                                                VG! initials: J h. ;
  J 8. Thedssue presented is not grievable.
                                                                                                               : Grievance #:                                - 1 7
._J 9. Redundant,' P.efer te grievance'#
                                                                                                                - Screening Criteria Used:

 3 10: nie ible/Incomprehensible.                                                                              * ¦ Date Recd from- Offender: M 3 M
’ 311- Inappropr ate.
                                                                                                                  Date Returned to Offender:

 j Gr.Printed Name/Signature:                                                                                   . S SulMii’ission - : -         UGI Initials-: •
                                                                                                                  'Grievance #: '
 ipplicatiom of Che screening criteria for this'grievance is not expected to adversely
                                                                                                                  Screening Criteria Use :
  ffect thepffender s health. < Ar                                     :   1 ¦         ’.•-: ’ - •
                                                                                                                  Date Reed from Offender:
- Wiedfcal Signat re thorit : 1                                                                                   Date Ret rned to Offen                                 r:

 -127 Back (Revised 11-2010)
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                                                                                          _ : OFFICE USE ONLY/ • ¦
                      Texas Departmejit ,of Crimi al J stice
                                                                                         Grievance #:
                         CT P 1 OFFENDER                                                 Date Recei ed:
                         SlJLr 1 GRIEVANCE FORM
                                                                                         Date             Due:

                                                                                         Grievance Coder ' -


Offender Nanie: _-TDCJ .                                                                 Investigator ID

Unit: Ho sing Assig ment: YlS- cell                                                      Exterision-D te:

Unit where incident occurred:                                                            Date Retd to Offender:



You ust try;tojesolve your problem with atstaff tneinber,befbre you.s ibriiit,a fornialcomplai t. The only exception is when
appealing the results\of a disciplinar ; hearing, j., , < - ,_ F - J                            u -U      ? ,     t? *7/7 '
Who did you talk to (riarrne,                title)?                                         _ When? J~

What was their response. ? alo n&i av                                                            in lay I
What action was taken?                > /rfe f afeMs fefeJ                            M iilik iv             fcw Ml J &z£
St te your grievance in the space rovided. Please state who, what, when, where and the disci linary case number if appropriate



                                                                                                             J          ./y.




 ItfMT IgiTa                                         4ar                 A iaas ?




A                              n/a!                                                          Q
' v/h a             /? CGnifil k;&frupTi huMne.
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                           on         dte-zi rl-         I



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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FOKM J (OVER)


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        Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 52 of 62 PageID #: 669



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 ftwrf-                                                                     ey k t J                                                      Ort




                                                                                                                               cl, L ;
Cafe latiems i ¦ few Fed' l Im m r.i)£
Offender                                           Signature:                                                       ¦        Date:

Grievance Response: v                                                 _ ,. .




Signature'Authority:                                                                                       1                                  Date:
                                                                                                                                                _           _
If you are dissatisfied with'the Step 1 res onse, .you may.submit a Step 2 .(1-128) to the Unit Qrievanee Investigator within 15 days from'.the date of the Step I response,
St       te      the         reason                   for       appe               l   on        the         Step             2      Form.                    .

Returned because:         Resubmit this form when the corrections are made.

    1. Grievable time period has expired. ' 7
       Submission in excess of 1 every 7 days. ¦ ' ' , ¦. .. ' ¦ :
                                                                                                                            .OFFICE . USE ONLY ¦
                                                                                                                 Initial Submission UGI Initials: /Vlr
I I 3. Originals not submitted.
                                                                                                                 Grievance                                      #:
I I 4. Inappropriate/Excessive attachments.
                                                                                                                 Screening Criteria Used:                                   2®
I I 5. No documented attempt at informal resolution.
                                                                                                               , Date Recd 'from Offen er:
I I 6. No requested relief is stated. .
                                                                                                                i Date Returned to Offender:/4
    7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                                 l- -Submission ,                 GI Initials: .
    8. The issue presented is not rievabte.                                                                      Grievance                         #:       *       '   I   s

    9. Redundant, Refer to grievance #___ ; • " : .                                                                creening Criteria-Use : - f- ' * 1

I I 10. Illegible/Incomprehensible.                                     : ¦ . . . .T                             Date Rec               from Offender

Oil. Inappropriate.                               : , z ,                                                       . Date Returne to Offender: A /

UGI Printed Name/Signature:                                                                                          Submission               GI Initials: . .
                                                                                                                  ! > i,, ¦ . • : ' - : 1 . C , .
                                                                                                                 Grie ance #:                .   ~
Application of the screenin criteri for this rievance is not ex ected to adversely                            ¦ Screening-Criteria Used? : ¦ ' - -              '       ..-i .-S
Affect the offender s health.
                                                                                                                 • ate Recd from Offender: 1 . v

. Medical Signature Authority:                                                                                 .. Date Returned to O fender: ¦                           ' < :;
                                                                                                                                                                                   -01(0 MQHQ

1-127 Back (Revised 11-2010)
                                                                                                                                                                  Appendix F
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                                                                                             ' . OFFICE¦USE/O-NLX.             . ..
              ¦ ? ' ' Texas Department' of rimi al J stice
                                                                                           Grievance #:                 / gy -
                     '¦      ¦ ' .OFFENDER.                                      '
                                                                                           Date Received:                        -
                    - Clli lr 1 GRIEVANCE-F@B>
                                                                                           Date            Due:             -¦
                                .'     .    ¦    ¦    c               w          -

                                                                                           Grievance Code: ; ___

  Offender Name: ytfggw'                             ftwa tdcj #          .                Investigator ID #:

  U it:     @gl         Housing Assignment: l2P 3c /                                       Extension Date:-

  Unit where incide t occurred: . lfc gL.;                                                 Date Retd to Offender:



  You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is whe
  appealing the results of a disciplinary hearing-- t' 1 . k                                           , , - t ' .._/•(» tA
  Who did you talk to (name, title ? . ~Ln                                    £ ' i 't   '. When?

  What was their response? iH Gp |                                                   Vf / T        oyS ¦           , ' . . i
  What action was taken? IW fe of
  State your grievance in the space provided. PIease,state who, what, when, here and the disciplinary case number jjf app opriate
   (?r-fcjO £e Jj fesfeg r Ibc d Iwfa .to &fiy wfe
                                                                   y                 y




 ..                y je fe                                             B fe my m
       /A                       € Oi                                  O s                               f


                                  c /y :C » if i fl i                     J o vw fefe M/r rfa s' ? ~~
        ef                                                feg                                               ly
  w w               ,         faMfeil                      w        gsr              g Gxir'k                   fa w£
                                                         fc l fa c~_ZZ_!

     i ?QWg - AC: .-fl -¥»                         Offr ./gWWy C g V. fow . rw f



- 1-127 Front (Revised. 1 -2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)


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       Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 54 of 62 PageID #: 671
       'T se-




WJ&M




                                                i    ±***                  jf      t*

 rievance Response:




¦Signature                                 Authority:'                               :                '-      ¦   ".       .    Date:                          ¦    .¦/
if you are dissatisfied 'vith the Step 1 response, you may submit a Step 2 (1-128) 'to the Unit Grievance Investigator within 15 da s from the date of the Step. 1 response,
state the reason for ap eal                                              n the Step 2 Form. i                                     : ¦: f

 eturned because: Resubmit this form when the corrections are made.

     . Grievable time period has expired.. .
  \2. Submission in excess of 1 e eiy 7 days.                                                                                OFFICE USE ONLYn
                                                                                                                  Initial Submission UGI Initia s: /Wl
CJ 3 Originals not submitted.
                                                                                                                  Grievance # ' Za OZSo?
   4. Ihap ropriate/Excessive attachments.
                                                                                                                  Screening Criteria Used:
.~1 5. 'No documented attempt at inform l resolution.
                                                                                                                  Date Recd from Offender: X
fl 6. No requested relief is st ted.
                                                                                                                  Date Returned to Offender: XPT 2 7
O 7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                                     Submission •           UGI Initials: '
08 The issue prese ted is not grievable.                                                                          Grievance #: ¦ '                        " . •- . •
fl 9. .Re undant. Refer to grievance #                                                                            Screening Criteria Used:                                     )
o 10. Illegible/Incomprehensible.                                                                             ... Date Recd from Offen er:

o 11. In ppropriate.                                                                                              Date Returned to Offen er:

UGI Printed Name/Signature:                                                                                       3 S.u.b.mi.ssipn. UGI Initials:

                                                                                                                  Grievance #:                              . . ¦ ¦
Application of the screening criteria for this griev nce is not ex ected to dversely
                                                                                                                  Screening Criteria Used:                              __
Affect the offender s health.
                                                                                                                  Date Recd from Offender: •
Medical Sign ture A thority:_                                                                                     Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                                A endix F
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                    Texas Bepartment of Crimi al J stice’-' • ¦                              .OFFICE USE ONLY '

                                                                                      Grievance
                                                    OFFENDER ' - \
                      STEF I                       lEVANCE FORM '
                                                                                      Date Received:

                                                                                      Date Due:

                                                                                      Grievance Code:

Offender Name: TDCJ # IK                                                BaEaa         Investigator ID #:

Unit: I             Housing Assignment:                                               Extension Date:

Unit where incident occurred:                                             -           Date Retd to Offender:



You m st try to resolve our problem with a staff member before you submit a formal complaint. The only exception is when
ap ealingthe results of it disciplinary hearing.'                                                     • -V;?          La T
Who did you talk to (name, title ?.. _ ' when?

What                   was                their               response?                                      J
What                         action                           was                     taken?

State your grieva ce in the space provided. Please state who, what, when, where an the disciplinary case n mber if ap rop iate #




     M W S o rFgkfc pf& i be                                                     &K fen of
1-127 Front/Revised 11-2010) . YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                        (OVER)

                                                                                                                  Appendix F
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                                        j                               if                                                         /




W y Fg g. ak?                                                                                                       l.                ( +,                             i
$ ggb fe / ~fe. V y nc fr f                                                                                                           Ms/
Offender Signature: Date:
Grievance Response:




Signature A thority: A '                                          t .     .¦ '¦./ ¦ - ;'?: ; ~ t .                          ' -       -      Bate ;¦ ?                    . -

If you are dissatisfied with the Step ,t'respOih_se.,yo-i max submit a Step 2 (1-123) to the Unit Grievance Investigator within JS.days fregi' h e date of the Stop 1 response.:
State the reason for appeal on the Step 2Jf»nb.                                                      ; '-h       r., • . ,. _ ... •. - >. <¦ , .. . . .-• p

Returned because: „ .. Res«bmit thi&form when the corrections are made.

    1. Grievable time period has expired.. A

Fl 2. Submission in excess of 1 every 7 days.                     "¦                                                        i t OFFICE USE ONO • ;
                                                                                                                    Initial Submission UGI Initials: K (
03. Originals not submitted.
                                                                                                                    Grievance                                      #:
04. Inappropriate/Excessive attachments. * . A-
                                                                                                                    Screening Criteria Used                     . . I t ' ¦
    5. No documented attempt at informal resolution. ?'¦
                                                                                                                    Date Recd from Of ender:
Fl 6. No requested'relief is stated.                 .' .... .<
                                                                                                                    Date Returned to Offender: '
    7. Malicious use. of vulgar, indecent, or physically, threatening language.
                                                                                                                    W ubmission ugI Initials: ' '                             '
08. The issue presented is hot griey able. -                                                                        Grievance#: =. —                                      ¦ 1
    9. Redundant, Refer to                       rievance~#__ ¦ ¦¦                                                  Screening Criteria Used:                              '

Fl IO. Tllegible/Incomprehensibie.                                                                                  Date Recd fro                      Offender:
I i 11: In ppropriate.                                                                                              Date Returned to Offen er: •                                  .

UGI Printed Name/Signature:                                                                                         yt-Submission- - UGI Initials:. ' ;A
                                                                                                                    Grievance #:                       . •• ' ¦ ' .
Application of the screening criteria for this grievance is not expected to adversely                               Screening Criteria'Used:                                      -
Affect the offender s health.
                                                                                                                    Date Reed from Offender:
Medical Signature Authority:                                                                                        Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                                    Appendix F
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                    Texas Department of Criminal J stice                                       OFFICE USE ONLY
                                                                                       Grievance #:
                                                     OFFENDER
                      STEP1                                                            Date Received:

                                                                                       Date                 Due:

                                                                                       Grievance Code:

Offender Name: tdcj # J3                                                               Invest gator ID #: ____

Unit:       Housing Assignment:                         12 zJ&£lf                      Extension Date:

U it where incident occ rred;                                           -              Date Retd to Offender:



You must try to resolve your problem with a staff member before you s bmit a formal complaint The only exception is when
ap ealing the results of a disciplinary hearin                                                            ,/      - t • -,..
Who did you talk to (name, title                                            )       -- Whe x Jfb                       j2 W* :
What             was           their          response?                            cn~            l   w      ..   ’   ’   ¦

What                         action                           was                     taken?

State,your grievance in the s ace provided. Please state who, what,when, where and the disciplinagy case number if a ro riate ,




                                                                                                                      4hik




zl SeSL to& ng tjflZ J ia s



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S y esir e                                 fey c usms                                 vet                wW                   z
1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)


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            Case 6:22-cv-00006-JCB-KNM Document 40-1 Filed 03/07/22 Page 58 of 62 PageID #: 675




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                        ftis M 'Ike. 01G erv s Dbv ien. eaiK iCacy ir,y fidre
   Offender                                                                Signature:

   Grievance Response:




        > ;                       .V          C.' ;- . . ¦ t : .                                          .     s-        .. J, ... i...
        ¦                                      ..                                                                         If
• ¦ Signature- uthority:. < • -. . - - I                                                       ; ¦ ; . - - ' -. -y                      Date: . '.¦ ,0

   If you are dissatisfied with the Step 1 respo se, you may submit a 'Step 2 (1-128) to he Unit.Grievance Investigator within 15 days from the date of the Step i response.-
- S ate the reason for appeal on the Step 2'form. f - :• v 1 v<

   Returned because: ¦ Resubmit this form when the corrections are made.

   Fl 1; Grievable time period lias expired..
: 0-2. Submission in.excess of 1 eyery 7 days.          ...                                                               . .OFFICE USE ONE'
                                                                                                                   Initial Submission JjG 'Initi ls:__j
i o 3. Originals not submitted.                   . .
                                                                                                                   Griwance #:
¦ 04. Inappropriate/Excessive attach ents.                    ?:
                                                                                                                   Screening Criteria Used:
   n 5. No documented attempt at informal resolution.
                                                                                                                   Date tecd from Offende:
   o 6. No requested relief is stated. ¦                                            . ¦ r
                                                                                                                   Date Returne to Offender:
   De . Malicious use of vulgar, indecent, dr physically threatening language. -
                                                                                                                      gubmission                  UGI initials:
   0,8. The issue presented is not grievable.
                                                                                                                   Grievance#:                           O_
       9. Redundant, .Refer to grievance # -                                                                       Screening Criteria Usedr f:
       10. lllegible/Incomprehensible.                             .                                               Date Recd from Offender:

                                                                                                                   Date Returne                   to Offender:
                                                                                                                   S Submission                   UGI Initials:
                                                                                                                   Grievance #:               •
   Application of the screening criteria for this grievance is not expected to adversely
                                                                                                                   Screening.Criteria Used:
   Affect the offender s health.
                                                                                                                   Date Rec from Offender:
   Medical Signature Authority:                                                                                    Date Returned to Offender':

   1-127 Back (Revised 11-2010)
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                    Texas Departme t ®f Criminal J stice

                                                       OFFENDER
                      STEP
Offender Name:                       aw       _ TDCJ #             i3 35               Investigator ID #:

Unit: Mic l           Housing Assignment: M-58                                         Extension Date:

Unit where incident occurred:                                                          Date Retd to Offender:

Aces? to Cwcls/9ve 9mce /MArr>eti. V la ns
You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinar earing.                   A > / ti > ) ft •
Who did you talk to (name, title)?                                               VoYn Vace                  When?
What                        was                   their                 response?
Wh t action was taken? r-e ial

State your grievance i the space provide . Ple se jst te wh                                                 ier if appropriate




         iM h 2-0 biff M




                                                                                                                            o




ame tfny s g i                                                    j'rkr               w            gmgy y


                                                                                on                     J            ..
&ne c& an J li s                                                    o h AD-oS                                       a J



1-127 Front (Revised 11 -2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                          (OVER)

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                            .     ™                -     .     :



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Gnii          ''     i-      zs 4fz5«.< . -Ci-nm /)*}«»>

Offender                                      Signature:

Grievance Response:




Signatur                              Authori                        y:       j      ¦¦-.¦-               vt            .         ¦    Date:
If ou are dissatisfied with the Step I response, yo may submit a. Step 2 (!-S28) to the Unit Grie a ce Investigator within IS days iro«n the date of the Step 1 respoo.se
State the reason for appealon the Step 2 Form; - . '

Returned because:                  Resubmit this form                 hen the corrections are made. ¦

    1. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days.                                                                              OFFICE USE ON
                                                                                                                Initial Submission UGI Initials.
    3. Originals not submitted.
                                                                                                                  no                  nee#:
Fl 4. Inappropriate Excessive attachments.
                                                                                                                Screeni g Criteria Used:
    5. No documented attempt at informal resolution.
                                                                                                                Date Reed from Offender:
Fl 6. No requested relief is stated.
                                                                                                                Date eturned to Offender: if Zat f
     . Malicious use of vulg r, indecent, or physically threatening language.
                                                                                                                amt-Submission               UGI Initials:,
Fl 8. The issue presented is not grievable.
                                                                                                                Grievance                                   #:
    9. Redundant, Refer to grievance                                                                            Screening Criteria Used:                          -

    10. Illegible/Incomprehensible.                                                                             Date Recd from Offender:
    11. Inappropriate.                                                                                          Date Returned to O                          ender:

UGI Printed Name/Signature:                                                                                     3 8.11 bmjss.ion UGI Initials:
                                                                                                                Grievance                              #:       •      '
Application of the screening criteria for this grievance is not expected to dversely
                                                                                                                Screening Criteria Use :
Affect the offender s he lth.
                                                                                                                Date          ecd from Offender:
Medical Signature Authority:                                                                                    Date Returne                   to Offender:

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                                                                                                                                                              A pendix F
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                                      Texas Departme t fCriiiimal J stice                        ; OFFICE. DSE ONLY ¦ . .

                                                                                            Grievance
                                  Gr r]3>                  OFFE NOER
                                                                                            ,Date Received: ~ ,               U_
                       f         O 1 a I.                   JCE FeR>
                                                                                            Date        D    e:   '   .   ~


                                                                                            Grievance Code:               ______
 Offender Name: TDCJ # /3 SS'? ' '
                                                                                            Investigator ID #
 Unit:                                     ______        ousing Assignment:                 Extension Date:
. Unit where inci ent occuyed:
                                                                                            Date Retd to Offender: ¦



 You must try to resolve your problemw Y ff member before you.submit a fbrmai C0H1plaint. The only exception is when ' /
 appealmgthe resnlts of ».lisc,plinar5 tearing. . .,                                                  , ztjI&Aw 0/>K>/
 Who did you talk to (name, title)'; Z .y -                                                 wh.„, 7-)-ffi/Y
 What was their response? -wwzr ; I ' ~ ' fj -;-- '-''

 What                                     action             was         taken?


             Zr g ailC/tn *he space Prov led- PI*ase, s ate h?, what, when where and the dis iplinary case number if appropriate 4




                                                                                                      S y s OA/ h
                                                                                                                   t&ojMrv

    t ayw                           rf Ct-

                                 S2££ A 2Sal                                f        -
. caf .                   X              --
- fg f x




                                                                                                                      Appendix F
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Action Req>

                                                                       e wm
Offender Signat re:.                                                                                              Date:

Grievance Response:




Signature                                                    Authority:                                                             Date:
If yo are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the U it Grievance Investig tor within 15 days from the date of the Step 1 res onse.
State the reason for ap eal on the Step 2 Form. ,

Returned because: Resubmit this form when the corrections are made.

1*1 1. Grievable time period has expired. ¦ j»'
Fl 2. Submission in excess of 1 every 7 days.                                                                  • - OFFICE USE ON
                                                                                                               Initial Submission
Q 3. Originals not submitted.
                                                                                                               Grievance #:
    4. Inappropriate/Excessive attach ents.
                                                                                                             • Screening Criteria Used
n 5. No documented attempt at informal resolution.
                                                                                                               Date Recd from O fender:
I I 6. No requested relief is stated.
                                                                                                               Date Returned to Offen er:
fl 7. Malicious use of vul ar, indecent, or physically thre tenin language.
                                                                                                                  Submission                ¦UGI Initials:
08- The issue presented is not grievable.                                                                      Grievance #:
    9. Redundant, Refer to grievance #                                                                         Screenin Criteria Use :
Q 10. lllegible/Incomprehensible.                                                                              Date Rec fro Offen er:
Fl 11. Inappropriate.                                                                                          Date Returned to Offender:                                  la
UGI Printed Name/Signature:                                                                                    S Submission                 UGI Initials:
                                                                                                               Grievance #:
Application of the screening criteria for this grievance is not expected to adversely                          Screenin Criteria Used:
Affect the offender s health.
                                                                                                               Date ecd from Offender:
Medical Signature Authority:                                                                                   Date Returned to Offender:

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